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 6                       IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
 8
 9    Julie Levitch,                                   No. CV 21-01418-PHX-DLR (JZB)
10                         Plaintiff,
11    v.                                               ORDER
12
      County of Maricopa, et al.,
13
                           Defendants.
14
15          Plaintiff Julie Levitch, who is represented by counsel, brought this civil rights action
16   pursuant to 42 U.S.C. § 1983 and Arizona state law. Defendants have filed a Motion to
17   Dismiss for failure to state a claim pursuant to Federal Rule of Civil Procedure 12(b)(6).
18   (Doc. 13.) The Motion is fully briefed. (Docs. 18, 27).1 Plaintiff has also filed three
19   Motions for Partial Summary Judgment (the “MPSJs”) (Docs. 19, 37, and 38), which
20   Defendants seek to defer consideration of until resolution of their Motion to Dismiss (Docs.
21   29, 39 and 40).2
22          The Court will grant the Motion to Dismiss in part and deny it in part as moot, and
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24          1
             Plaintiff has also requested oral argument. (Doc. 30). The Court will deny the
25   request because the issues have been fully briefed and oral argument will not aid the
     Court’s decision. See Fed. R. Civ. P. 78(b); LRCiv. 7.2(f).
26          2
               Because the Court will dismiss Plaintiff’s federal causes of action, decline
27   jurisdiction over Plaintiff’s state causes of action, and provide Plaintiff an opportunity to
     amend her complaint to cure the deficiencies identified herein, the Court will deny the
28   MPSJs and Motions to Defer as moot. If Plaintiff files a second amended complaint that
     sufficiently alleges causes of action, she may then re-seek partial or full summary judgment
     on her claims.
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 1   will dismiss the First Amended Complaint without prejudice and with leave to amend.
 2   I.     Background
 3          In her operative First Amended Complaint (Doc. 8), Plaintiff names Maricopa
 4   County and Maricopa County Sheriff Paul Penzone as Defendants; Penzone is sued only
 5   in his official capacity.
 6          Plaintiff alleges that on August 22, 2020, she was wrongfully arrested and charged
 7   with “Criminal Damage—Defacing Property.” (Id. at 5). Upon her arrest, Plaintiff was
 8   transported to the Maricopa County Fourth Avenue Jail, where her mugshot was taken.
 9   (Id. at 6-7). Plaintiff was released from the jail approximately 16 hours later. (Id.).
10   Plaintiff’s charge was subsequently dismissed. (Id. at 5).
11          At some point shortly after her arrest, Plaintiff’s mugshot and other identifying
12   information—including her full name, birthdate, and “Crime Type”—were posted on the
13   Maricopa County Sheriff’s Office’s (MCSO) publicly available website. (Id. at 7). After
14   her mugshot and information were posted on the MCSO website, numerous online entities
15   “scraped” the data and republished it.        (Id. at 8).   As a result, Plaintiff has been
16   “bombarded” by hundreds of spam emails offering “reputation management services” for
17   a fee. (Id. at 8-9). Plaintiff further alleges that her “reputation in the business community,
18   as well as in her personal life, has been severely and permanently damaged” as a result of
19   the publication of her mugshot and data on the MCSO website. (Id. at 8).
20          Accordingly, Plaintiff alleges four claims for relief, as follows: “Peace Officer
21   Liability,” brought pursuant to 42 U.S.C. § 1983 (Count One); “Equal Protection,” also
22   brought pursuant to 42 U.S.C. § 1983 (Count Two); “Slander, Defamation False Light, and
23   Invasion of Privacy,” brought pursuant to Arizona state law (Count Three); and “Infliction
24   of Emotional Distress—Negligent, Reckless, and Intentional,” also brought pursuant to
25   Arizona state law (Count Four).3 Plaintiff seeks monetary relief, and punitive damages.
26
            3
27            Plaintiff also made allegations related to the conditions of her confinement while
     at the Fourth Avenue Jail. However, in responding to Defendants’ Motion to Dismiss,
28   Plaintiff clarifies that “[t]his lawsuit is about the Sheriff’s wrongful digital publication of
     [Plaintiff’s] mugshot and personal information, and not about anything else.” (Doc. 18 at
     3). Accordingly, the Court will not consider Plaintiff’s allegations with regard to her

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 1   II.    Legal Standards
 2          Dismissal of a complaint, or any claim within it, for failure to state a claim under
 3   Federal Rule of Civil Procedure 12(b)(6) may be based on either a “‘lack of a cognizable
 4   legal theory’ or ‘the absence of sufficient facts alleged under a cognizable legal theory.’”
 5   Johnson v. Riverside Healthcare Sys., LP, 534 F.3d 1116, 1121–22 (9th Cir. 2008) (quoting
 6   Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1990)). In determining
 7   whether a complaint states a claim under this standard, the allegations in the complaint are
 8   taken as true and the pleadings are construed in the light most favorable to the nonmovant.
 9   Outdoor Media Group, Inc. v. City of Beaumont, 506 F.3d 895, 900 (9th Cir. 2007). A
10   pleading must contain “a short and plain statement of the claim showing that the pleader is
11   entitled to relief.” Fed. R. Civ. P. 8(a)(2). But “[s]pecific facts are not necessary; the
12   statement need only give the defendant fair notice of what . . . the claim is and the grounds
13   upon which it rests.” Erickson v. Pardus, 551 U.S. 89, 93 (2007) (internal quotation
14   omitted). To survive a motion to dismiss, a complaint must state a claim that is “plausible
15   on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); see Bell Atlantic Corp. v.
16   Twombly, 550 U.S. 544, 570 (2007). “A claim has facial plausibility when the plaintiff
17   pleads factual content that allows the court to draw the reasonable inference that the
18   defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678.
19          As a general rule, when deciding a Rule 12(b)(6) motion, the court looks only to the
20   face of the complaint and documents attached thereto. Van Buskirk v. Cable News
21   Network, Inc., 284 F.3d 977, 980 (9th Cir. 2002); Hal Roach Studios, Inc. v. Richard Feiner
22   & Co., Inc., 896 F.2d 1542, 1555 n.19 (9th Cir. 1990). If a court considers evidence outside
23   the pleading, it must convert the Rule 12(b)(6) motion into a Rule 56 motion for summary
24   judgment. United States v. Ritchie, 342 F.3d 903, 907–08 (9th Cir. 2003). A court may,
25   however, consider documents incorporated by reference in the complaint or matters of
26   judicial notice without converting the motion to dismiss into a motion for summary
27   judgment. Id.
28
     confinement at the Fourth Avenue Jail in resolving Defendants’ Motion to Dismiss.

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 1   III.   Discussion
 2          A.     Federal Claims (Counts One and Two)
 3          Plaintiff’s First Amended Complaint is not a model of clarity, and the precise
 4   contours of Plaintiff’s claims are difficult to discern. Plaintiff alleges that Defendants
 5   violated her rights under the Fourth, Fifth, Sixth, Eighth and Fourteenth Amendments by
 6   publishing her mugshot and other identifying information. (Doc. 8 at 10-18). Plaintiff
 7   further asserts that these claims “include but are not limited to, lack of due process, cruel
 8   and unusual punishment, infliction of emotional distress (intentional and negligent), and
 9   slander.” (Id. at 4). However, in responding to Defendants’ Motion to Dismiss, Plaintiff
10   does not argue that her Fourth Amendment rights have been violated, and “agrees her
11   specific claim under the Eighth Amendment should be dismissed as a separate
12   constitutional claim.” (Doc. 18 at 31). Accordingly, it appears the crux of Plaintiff’s
13   allegations is a due process claim arising pursuant to the Fifth and Sixth Amendments, as
14   made relevant to the States under the Fourteenth Amendment.
15          In Count One, Plaintiff alleges that Defendants “were either aware or should have
16   known that placing such a mugshot on the internet conveys a wrongful message of guilt.”
17   (Id. at 12). Plaintiff further alleges that her mugshot and other identifying information were
18   published “without any due process,” “did not advance any legitimate state interest but was
19   motivated by the desire of [Defendants] to promote themselves at the expense of the rights
20   of citizens such as [Plaintiff],” and its “sole purpose [was] to promote [Defendants’]
21   organization and to punish those persons who are arrested without the necessity of proving
22   probable cause for the arrest and without the necessity of allowing the defendant any
23   opportunity to prove his or her innocence.” (Id. at 12-13). Plaintiff also alleges that
24   Defendants are also liable “for failing to supervise and train the staff and officers of the
25   County who assisted in publishing mugshot information on the official MCSO website,”
26   that the Defendants “had a general policy and/or practice of not properly supervising or
27   disciplining officers and staff for their conduct” including “the lack of placing any
28   disclaimer on the mugshot webpage stating that suspects are innocent until proven guilty,



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 1   or words to that effect.” (Id. at 14-15). Plaintiff alleges that Penzone “is the final policy-
 2   maker for Maricopa County with respect to all matters relating to the publishing of
 3   mugshots and personal information on the official MCSO website.” (Id. at 15).
 4          In Count Two, Plaintiff alleges that “her rights [were] violated with an
 5   unconstitutional motive and malice by [Defendants ] without equal protection or due
 6   process,” that she was “subjected to improper abuse of process and power for improper
 7   motives, all without due process,” that Defendants’ “conduct against Plaintiff . . . .was
 8   arbitrary, irrational, extreme, outrageous, unjustified by any governmental interest, beyond
 9   all possible realms of decency” and “shocks the conscience of the Court and constitutes a
10   gross abuse of government authority.” (Id. at 16-17).
11          The Court will discuss each Count in turn.
12                  1.     Count Two
13          The Court will begin with Count Two. As alleged, Count Two—which Plaintiff
14   styles as a claim of “Equal Protection”—fails to state any cause of action. Generally, “[t]o
15   state a claim . . . for a violation of the Equal Protection Clause . . . [,] a plaintiff must show
16   that the defendants acted with an intent or purpose to discriminate against the plaintiff
17   based upon membership in a protected class.” Barren v. Harrington, 152 F.3d 1193, 1194
18   (9th Cir. 1998). Plaintiff fails to allege facts to support that she is a member of a protected
19   class, or that the Defendants intended to discriminate against her based upon that
20   membership. Although Plaintiff states in her Response to Defendants’ Motion that she “is
21   a member of a class of persons booked by Sheriff Penzone in the Maricopa County Jail
22   system who have suffered from the improper disclosure of their mugshot and personal
23   information on the internet,” (Doc. 18 at 27) she does not allege or cite to any authority to
24   support that such a “class” is constitutionally protected. In any event, the Court will not
25   consider allegations not made in the operative First Amended Complaint. See Padgett v.
26   Wright, 587 F.3d 983, 985 n.2 (9th Cir. 2009) (per curiam) (the court will not consider
27   arguments raised for the first time in a reply brief); United States v. Anderson, 472 F.3d
28   662, 668 (9th Cir. 2006) (recognizing the general principle that arguments raised for the



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 1   first time in a reply brief are waived); Martinez-Serrano v. INS , 94 F.3d 1256, 1259 (9th
 2   Cir. 1996) (arguments raised for first time in reply brief are not considered).
 3          The United States Supreme Court has also recognized “successful equal protection
 4   claims brought by a ‘class of one,’ where the plaintiff alleges that she has been intentionally
 5   treated differently from others similarly situated and that there is no rational basis for the
 6   difference in treatment.” Village of Willowbrook v. Olech, 528 U.S. 562, 564 (2000); see
 7   also SeaRiver Maritime Fin. Holdings, Inc. v. Mineta, 309 F.3d 662, 679 (9th Cir. 2002).
 8   Even under this standard, Plaintiff has failed to state a claim. Plaintiff has failed to allege
 9   that she was treated differently than other similarly situated individuals and that there was
10   no rational basis for treating her differently; indeed, she alleges that she was treated the
11   same as everyone who is booked into the Maricopa County jail system. As such, Plaintiff
12   fails to state a claim in Count Two, and it will thus be dismissed.4
13                 2.     Count One
14          At its most basic, Plaintiff’s complaint in Count One is that the publication of her
15   mugshot and accompanying information violated her due process rights. In seeking
16   dismissal, Defendants’ primary position is that “Plaintiff’s mugshot and the fact of her
17   arrest is a public record,” and, as a public record, Plaintiff was not entitled to any process,
18   nor were any of her substantive rights violated, by publishing that information. (Doc. 13
19   at 1-2).
20          Although Plaintiff references only her “due process” rights in the First Amended
21   Complaint—without specifying whether she is referring to procedural or substantive due
22   process—it appears from Plaintiff’s response to Defendants’ Motion to Dismiss that she
23   intends her allegations to include claims of both procedural and substantive due process.
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26          4
             To the extent Plaintiff—via her allegation that “her rights [were] violated with an
27   unconstitutional motive and malice by [Defendants ] without . . . due process” and that she
     was “subjected to improper abuse of process and power for improper motives, all without
28   due process”—intends Count Two to also include a due process claim, it is duplicative of
     Count One, and will be dismissed for the same reasons as those set forth in Part III.A.2,
     infra.

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 1   The Court will discuss each in turn.5
 2                        i.        Procedural Due Process
 3          Plaintiff cites Scottsdale Unified School District No. 48 of Maricopa County v.
 4   KPNX Broadcasting Co., 191 Ariz. 297(1998), for the proposition that she “has a
 5   recognized state law privacy interest in preventing [Defendants] from publishing her
 6   mugshot photograph on the internet” (Doc. 18 at 8), and, citing Humphries v. County of
 7   Los Angeles, 554 F.3d 1170 (9th Cir. 2008) (overruled on other grounds by Los Angeles
 8   County v. Humphries, 562 U.S. 29 (2010)), asserts that Defendants have violated her
 9   procedural due process rights by publishing her “personal information . . . including her
10   birthdate, without regard to due process.” (Id. at 27-28).
11          In Scottsdale, the Arizona Supreme Court “conclude[d] that a person . . . has a
12   privacy interest in his or her birth date. The question then becomes whether that interest is
13   sufficient in a given case to outweigh disclosure, which is presumptively required where
14   public records are concerned.” 191 Ariz. at 302. Engaging in the balancing test set forth
15   in Carlson v. Pima County, 141 Ariz. 487 (1984), the Arizona Supreme Court concluded
16   that, on the facts presented, the privacy interests of the plaintiffs outweighed the public
17   interest in disclosure of their birthdates, and that the birthdates were correctly withheld
18   from disclosure. Id. at 303.
19          In Humphries, the Ninth Circuit observed that
20          In procedural due process claims, the deprivation of a constitutionally
            protected interest “is not itself unconstitutional; what is unconstitutional is
21          the deprivation of such an interest without due process of law.” Zinermon v.
            Burch, 494 U.S. 113, 125 (1990). Our analysis proceeds in two steps: “the
22          first asks whether there exists a liberty or property interest which has been
            interfered with by the State; the second examines whether the procedures
23          attendant upon that deprivation were constitutionally sufficient.” Ky. Dep't
            of Corr. v. Thompson, 490 U.S. 454, 460, 109 S.Ct. 1904, 104 L.Ed.2d 506
24          (1989) (internal citations omitted).
25   554 F.3d at 1184-85.
26
27
            5
              The Court will not consider any arguments made in Plaintiff’s three Motions for
     Partial Summary Judgment, as those filings would effectively operate as unauthorized sur-
28   responses. As such, the Court will contain its analysis to the claims alleged in the operative
     First Amended Complaint, and the arguments made in Plaintiff’s Response to Defendants’
     Motion to Dismiss.

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 1          In determining whether a liberty or property interest exists, the Supreme Court has
 2   held that a liberty interest may be implicated “where a person's good name, reputation,
 3   honor, or integrity is at stake because of what the government is doing to him.” Wisconsin
 4   v. Constantineau, 400 U.S. 433, 437 (1971). However, in Paul v. Davis, the Supreme
 5   Court clarified that procedural due process protections apply to reputational harm only
 6   when a plaintiff suffers stigma from governmental action plus alteration or extinguishment
 7   of “a right or status previously recognized by state law.” 424 U.S. 693, 711. This has
 8   become known as the “stigma plus” test. Humphries, 554 F.3d at 1185. As such, in order
 9   to properly state a claim for a violation of procedural due process actionable under § 1983,
10   a plaintiff must allege that they suffered some “stigma,” and that, as a result of that stigma,
11   “a right or status previously recognized by state law was distinctly altered or extinguished.”
12   Id. at 1186.
13          Assuming arguendo that Plaintiff has a “a recognized state law privacy interest”
14   pursuant to Scottsdale that gives rise to a constitutionally protected liberty or property right,
15   Plaintiff alleges only that her “reputation in the business community, as well as in her
16   personal life, has been severely and permanently damaged” as a result of the publication
17   of her mugshot and accompanying information. (Doc. 8 at 8).6 Mere reputational injury,
18   however, is not sufficient. Paul, 424 U.S. at 711; see also Siegert v. Gilley, 500 U.S. 226,
19   233 (1991) (reaffirming that an injury to reputation by itself is not a protected liberty
20   interest under the Fourteenth Amendment).
21          Further, Plaintiff has not alleged facts to support that some “right or status” has been
22   “altered or extinguished.” Plaintiff does not, for instance, allege that any employer has
23   terminated her as a result of the publication of her mugshot or other information, or that
24   she has been denied a lease because a potential landlord consulted the MCSO website.
25   Like the plaintiff in Paul, Plaintiff’s claimed injuries no doubt flow from the publication
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27             The Court further notes that, at most, Scottsdale only creates a privacy right in
     Plaintiff’s birth date, and would not extend to Plaintiff’s mugshot or any of the other
28   information she identifies. Neither party has addressed whether Scottsdale contemplates
     the publication of a birth date in conjunction with other, non-protected information, or what
     the contours of a privacy right, if any, would remain in that scenario.

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 1   of her mugshot and accompanying information, but this injury is only incidental to others
 2   viewing that posting. Nothing appears to require that the Sheriff post her information,7 or
 3   that anyone else view it. See e.g. Humphries, 554 F.3d at 1187 (noting that in Paul “no
 4   law had required the Chief of Police to distribute this flyer, nor did any law require
 5   employers to check the list. Thus, although any impairment to Davis’ employment
 6   opportunities ‘flow[ed] from the flyer in question,’ his injury only occurred because the
 7   flyer happened to have ‘c[o]me to the attention of [his] supervisor.,”). This is distinct from
 8   the injury to the plaintiffs in Humphries, whose names were placed on an official
 9   government registry that certain agencies, employers, and other entities were required to
10   consult. Id. at 1177-79.
11          Accordingly, Plaintiff has failed to allege facts sufficient to support that her
12   procedural due process rights have been violated.
13                        ii.    Substantive Due Process
14          Although the Fifth Amendment’s Due Process Clause states only that “[n]o person
15   shall . . . be deprived of life, liberty, or property, without due process of law,” see U.S.
16   Const. amend. V, courts have long held that it also provides substantive protections for
17   certain unenumerated fundamental rights. See e.g. Washington v. Glucksberg, 521 U.S.
18   702, 719 (1997) (“The Due Process Clause guarantees more than fair process, and the
19   ‘liberty’ it protects includes more than the absence of physical restraint.”). Indeed, the
20   Supreme Court has a long history of recognizing unenumerated fundamental rights as
21   protected by substantive due process. See, e.g., Eisenstadt v. Baird, 405 U.S. 438 (1972)
22   (to use contraception); Griswold v. Connecticut, 381 U.S. 479 (1965) (to use
23   contraception, to marital privacy); Loving v. Virginia, 388 U.S. 1 (1967) (to
24   marry); Rochin v. California, 342 U.S. 165 (1952) (to bodily integrity); Skinner v.
25   Oklahoma ex rel. Williamson, 316 U.S. 535 (1942) (to have children); Pierce v. Society of
26   Sisters, 268 U.S. 510 (1925) (to direct the education and upbringing of one’s
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28          7
              Indeed, it appears that, at most, Arizona’s public records laws only prohibit the
     Sheriff from withholding certain information upon proper request.

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 1    children); Meyer v. Nebraska, 262 U.S. 390 (1923) (same).8
 2            In Glucksberg, the Supreme Court set forth the two elements of the substantive due
 3    process analysis:
 4            First, we have regularly observed that the Due Process Clause specially
              protects those fundamental rights and liberties which are, objectively,
 5            “deeply rooted in this Nation’s history and tradition,” and “implicit in the
              concept of ordered liberty,” such that “neither liberty nor justice would exist
 6            if they were sacrificed.” Second, we have required in substantive-due-
              process cases a “careful description” of the asserted fundamental liberty
 7            interest.
 8    Glucksberg, 521 U.S. at 720-21 (citations omitted).
 9            However, the Supreme Court has cautioned against the doctrine’s expansion.
10    See Glucksberg, 521 U.S. at 720 (stating that the Court must restrain the expansion of
11    substantive due process “because guideposts for responsible decision-making in this
12    uncharted area are scarce and open-ended” and because judicial extension of constitutional
13    protection for an asserted substantive due process right “place[s] the matter outside the
14    arena of public debate and legislative action” (citations omitted)); Reno v. Flores, 507 U.S.
15    292, 302 (1993) (noting that “[t]he doctrine of judicial self-restraint requires us to exercise
16    the utmost care whenever we are asked to break new ground in this field” (quoting Collins
17    v. Harker Heights, 503 U.S. 115, 125 (1992))). When evaluating a substantive due process
18    claim, Glucksberg instructs that substantive due process requires a “careful description of
19    the asserted fundamental liberty interest.” Glucksberg, 521 U.S. at 721 (quotation and
20    citations omitted); see also Flores, 507 U.S. at 302 (noting that the asserted liberty interest
21    must be construed narrowly to avoid unintended consequences).
22            Here, Plaintiff’s asserted substantive due process right is not carefully described.
23    Indeed, Plaintiff only refers to them as “due process” rights without otherwise describing
24    them.
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26             The Court has also recently begun to roll back previously recognized substantive
      rights, see Planned Parenthood v. Casey, 505 U.S. 833 (1992) (to have an abortion)
27    and Roe v. Wade, 410 U.S. 113 (1973) (same) (both overruled by Dobbs v. Jackson
      Women’s Health Organization, ___ U.S. ___, 142 S.Ct. 2228 (2022)), and at least one
28    Justice has called for the Court to “reconsider” its entire substantive due process
      jurisprudence. Dobbs, ___ U.S. ___, 142 S.Ct. 2228, 2301 (J. Thomas, concurrence) (“we
      should reconsider all of this Court’s substantive due process precedents”).

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 1           To the extent that Plaintiff’s allegations, more carefully described, is a due process
 2    right to be free from having private information publicly disseminated, she has failed to
 3    allege, let alone facts to support, that his asserted fundamental liberty interest is “deeply
 4    rooted in this Nation’s history and tradition,” and “implicit in the concept of ordered
 5    liberty,” such that “neither liberty nor justice would exist if they were sacrificed.”
 6    Glucksberg, 521 U.S. at 720-21 (citations omitted). Conclusory and vague allegations will
 7    not support a cause of action. Ivey, 673 F.2d at 268. Further, even a liberal interpretation
 8    of a civil rights complaint may not supply essential elements of the claim that were not
 9    initially pleaded. Id.
10           While “[p]retrial detainees have a substantive right against restrictions that amount
11    to punishment, Valdez v. Rosenbaum, 302 F.3d 1039, 1045 (9th Cir. 2002) (citing United
12    States v. Salerno, 481 U.S. 739, 746 (1987), this right is only violated if such restrictions
13    are “imposed for the purpose of punishment.” Bell v. Wolfish, 441 U.S. 520, 535 (1979).
14    Jail officials are entitled to impose restrictions to effect confinement, and detention will
15    necessarily affect a detainee’s ability to live as comfortably as she might like; a de minimis
16    level of imposition is permissible. Id. at 539 n.21.
17           Here, however, it is not clear whether Plaintiff was even in custody at the time her
18    mugshot and other information were posted; Plaintiff alleges that she was booked into the
19    Fourth Avenue Jail in the “evening” on August 22, 2020, and released approximately 16
20    hours later. (Doc. 8 at 5-6). Plaintiff does not identify when, precisely, her mugshot and
21    accompanying information were posted, alleging only that it occurred “while she was in
22    custody or within hours of her release.” (Doc. 8 at 7).
23           Even assuming that the mugshot and accompanying information was posted while
24    she was still in custody, it is not clear how the posting of Plaintiff’s mugshot and
25    accompanying information amounts to a “restriction” for substantive due process purposes
26    (especially after Plaintiff had been released from custody), or facts to support that this
27    “punishment” was more than de minimis. In her response to Defendants’ Motion to
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 1    Dismiss, Plaintiff asserts only that she “has stated a valid cause of action for both
 2    substantive due process and procedural due process because she has alleged facts
 3    susceptible to an inference that Defendants ‘acted with an intent or purpose to discriminate
 4    against the plaintiff based upon membership in a protected class.’” (Doc. 18 at 28) (citing
 5    Lee v. City of Los Angeles, 250 F.3d 668, 687 (9th Cir. 2001). However, as discussed
 6    supra, Plaintiff has not alleged, in her operative First Amended Complaint, facts to support
 7    that she is a member of a protected class, or that the Defendants intended to discriminate
 8    against her based upon that membership. Although Plaintiff states in her Response to
 9    Defendants’ Motion that she “is a member of a class of persons booked by Sheriff Penzone
10    in the Maricopa County Jail system who have suffered from the improper disclosure of
11    their mugshot and personal information on the internet” (id. at 27), she does not allege or
12    cite to any authority to support that such a “class” is constitutionally protected. In any
13    event, the Court will not consider allegations not made in the operative First Amended
14    Complaint. See Padgett v. Wright, 587 F.3d 983, 985 n.2 (9th Cir. 2009) (per curiam) (the
15    court will not consider arguments raised for the first time in a reply brief); United States v.
16    Anderson, 472 F.3d 662, 668 (9th Cir. 2006) (recognizing the general principle that
17    arguments raised for the first time in a reply brief are waived); Martinez-Serrano v. INS ,
18    94 F.3d 1256, 1259 (9th Cir. 1996) (arguments raised for first time in reply brief are not
19    considered). Accordingly, Plaintiff has failed to allege facts sufficient to support that the
20    Defendants have violated her substantive due process rights.
21                         iii.    Miscellaneous
22           Plaintiff also claims in Count One that the Defendants are liable for failing to train
23    and supervise their subordinates who posted Plaintiff’s mugshot and accompanying
24    information. (Doc. 8 at 14-15). “[T]he inadequacy of police training may serve as the
25    basis for § 1983 liability only where the failure to train amounts to deliberate indifference
26    to the rights of persons with whom the police come into contact.” City of Canton v. Harris,
27    489 U.S. 378, 388 (1989). A plaintiff alleging a policy of failure to train officers must
28    show (1) that plaintiff was deprived of a constitutional right; (2) the local government entity



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 1    had a training policy that amounts to deliberate indifference to constitutional rights of
 2    persons with whom its officers are likely to come into contact; and (3) the plaintiff’s
 3    constitutional injury would have been avoided had the local government unit properly
 4    trained those officers. Blankenhorn v. City of Orange, 485 F.3d 463, 484 (9th Cir. 2007).
 5    A plaintiff must allege facts to support that not only was particular training inadequate, but
 6    also that such inadequacy was the result of “a ‘deliberate ’ or ‘conscious’ choice” on the
 7    part of the defendant. Id. at 1213-14; see Clement v. Gomez, 298 F.3d 898, 905 (9th Cir.
 8    2002) (a plaintiff must allege facts to support that “in light of the duties assigned to specific
 9    officers or employees, the need for more or different training is [so] obvious, and the
10    inadequacy so likely to result in violations of constitutional rights, that the policy[]makers
11    . . . can reasonably be said to have been deliberately indifferent to the need.” (quoting City
12    of Canton, 489 U.S. at 390)).
13           Here, however, as the Court has found, Plaintiff has failed to demonstrate that her
14    constitutional rights were violated. It follows then, that any failure to train or supervise
15    MCSO officers did not cause any violation of Plaintiff’s constitutional rights with regard
16    to the publication of her mugshot and accompanying information.9
17           Plaintiff also alleges Defendants violated her Sixth Amendment rights because the
18    publication of her mugshot and accompanying information “conveys a wrongful message
19    of guilt.” (Doc. 8 at 12). To the extent Plaintiff intends this claim to relate to her state
20    criminal proceedings, she has failed to state a claim because Plaintiff’s charges were
21    dismissed. Plaintiff has not alleged that the publication of her mugshot and accompanying
22    information caused her to be charged with a crime, or that those proceedings were
23    somehow elongated by the publication of her mugshot and accompanying information. To
24    the extent Plaintiff intends this claim as relating to her reputation, it is duplicative of her
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             9
26             To the extent Plaintiff also alleges a claim against Defendants pursuant to Monell
      v. Dept. of Soc. Servs., 436 U.S. 658, 690-91 (1978), she has similarly failed to state a claim
27    because she has not alleged facts to support that any policy, practice, or custom of
      Defendants caused any constitutional injury. Put another way, because Plaintiff has failed
28    to demonstrate that her constitutional rights have been violated, she has failed to
      demonstrate that any policy, practice, or custom of Defendants caused her any
      constitutional injury.

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 1    due process claim, discussed supra, and will be dismissed for the same reasons.
 2          Accordingly, for all of these reasons, Plaintiff has failed to state a claim for which
 3    relief could be granted in Count One, and Count One will thus be dismissed.
 4          B.     State Law Claims (Counts Three and Four)
 5           The Supreme Court has cautioned that “if the federal claims are dismissed before
 6    trial, . . . the state claims should be dismissed as well.” United Mine Workers of America
 7    v. Gibbs, 383 U.S. 715, 726 (1966). Such claims are more properly addressed by the
 8    Arizona courts, which are charged with administering the laws of Arizona and are more
 9    familiar with state law claims. See Salman v. City of Phoenix, No. CV 11-00646-PHX-
10    FJM, 2011 WL 5024263, at *4 (D. Ariz. Oct. 21, 2011) (issues of state law are “best
11    resolved by state courts.”); Ove v. Gwinn, 264 F.3d 817, 826 (9th Cir. 2001) (“A court may
12    decline to exercise supplemental jurisdiction over related state-law claims once it has
13    ‘dismissed all claims over which it has original jurisdiction,’” quoting 28 U.S.C. §
14    1367(c)(3)); Gini v. Las Vegas Metro. Police Dep’t, 40 F.3d 1041, 1046 (9th Cir. 1994)
15    (when federal law claims are eliminated before trial, the court generally should decline
16    jurisdiction over state law claims and dismiss them without prejudice). Accordingly, the
17    Court declines to exercise supplemental jurisdiction over Plaintiff’s remaining state law
18    claims in Counts Three and Four and will thus dismiss those counts without prejudice.10
19    IV.   Leave to Amend
20          Within 30 days, Plaintiff may submit a second amended complaint to cure the
21    deficiencies outlined above. Plaintiff must clearly designate on the face of the document
22    that it is the “Second Amended Complaint.” The second amended complaint may not
23    incorporate any part of any previous complaint by reference. Plaintiff may include only
24    one claim per count.
25          A second amended complaint supersedes any previous complaint.               Ferdik v.
26
27          10
                Because the Court will dismiss Counts One and Two for failure to state a claim,
28    and will decline supplemental jurisdiction over Counts Three and Four, the Court does not
      reach Defendants’ additional arguments on the merits or their claimed entitlement to
      qualified immunity.

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 1    Bonzelet, 963 F.2d 1258, 1262 (9th Cir. 1992); Hal Roach Studios v. Richard Feiner &
 2    Co., 896 F.2d 1542, 1546 (9th Cir. 1990). After amendment, the Court will treat any
 3    previous complaint as nonexistent. Ferdik, 963 F.2d at 1262. Any cause of action that was
 4    raised in a previous complaint and that was voluntarily dismissed or was dismissed without
 5    prejudice is waived if it is not alleged in a second amended complaint. Lacey v. Maricopa
 6    County, 693 F.3d 896, 928 (9th Cir. 2012) (en banc).
 7    IT IS ORDERED:
 8          (1)    The reference to the Magistrate Judge is withdrawn as to Defendants’
 9    Motion to Dismiss (Doc. 13), Plaintiff’s three Motions for Partial Summary Judgment
10    (Docs. 19, 37, and 38), Plaintiff’s Motion for Oral Argument (Doc. 30) and Defendants’
11    two Motions to Defer (Docs. 29 and 39).
12          (2)    Plaintiff’s Motion for Oral Argument (Doc. 30) is denied.
13          (3)    Defendants’ Motion to Dismiss (Doc. 13) is granted in part and denied as
14    moot in part. The Motion is granted as to Counts One and Two of the First Amended
15    Complaint, and is otherwise denied as moot.
16          (4)    The First Amended Complaint is dismissed without prejudice.
17          (5)    Within 30 days from the date of this Order, Plaintiff may file a Second
18    Amended Complaint that cures the deficiencies discussed herein.
19          (6)    Plaintiff’s three Motions for Partial summary Judgment (Docs. 19, 37, and
20    38) and Defendants’ three Motions to Defer (Docs. 29, 39 and 40) are denied as moot.
21          Dated this 23rd day of August, 2022.
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                                                    Douglas L. Rayes
26                                                  United States District Judge
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